                      Case 4:08-cr-00377-JLH                 Document 88             Filed 01/28/10          Page 1 of 10
A0245B        (Rev. 09/08) Judgment in a Criminal Case
              Sheet 1



                                         UNITED STATES DISTRICT CO~~~JAN
                                                                    28 2D~ ,
                                                         Eastern District of Arkansas                    y.~
                                                                       )                                                              ~C
              UNITED STATES OF AMERICA                                     )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                       )
                                                                           )
                CARLOS LAMONT BROWN                                               Case Number:           4:08CR00377-01 JLH
                                                                           )
                                                                           )      USMNumber:             25328-009
                                                                           )
                                                                           )      J. Brooks Wiggins
                                                                                  Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Count 2 of Indictment

o pleaded nolo contendere to count(s)
   which was accepted by the court.
o was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count
18 U.S.C. § 1029(a)(4)           Possession of device-making equipment with intent to defraud,                 10/9/2008                   2
                                  a Class C felony




       The defendant is sentenced as provided in pages 2 through                 6
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
X Count(s) Counts 1 & 3 of Indictment              o is            X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenoant must notify the court and United States attorney of material changes in economIC circumstances.




                                                                          J. LEON HOLMES, UNITED STATES DISTRICT JUDGE.
                                                                          Name and Title of Judge


                                                                          January 28, 2010
                                                                          Date
                      Case 4:08-cr-00377-JLH                  Document 88           Filed 01/28/10        Page 2 of 10
AO 245B    (Rev. 09/08) Judgment in Criminal Case
           Sheet 2 - Imprisonment

                                                                                                       Judgment - Page _-=2_ of     6
DEFENDANT:                    CARLOS LAMONT BROWN
CASE NUMBER:                  4:08CR00377-01 JLH


                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:


                                                                108 MONTHS


     X The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends defendant participate in residential substance abuse treatment, and educational
       and vocational programs during incarceration. The Court further recommends defendant be placed in
       a BOP facility in the state of Washington so as to be near his family.


     X The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                      [J a.m.     D p.m.        on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                           to

 a                                                    , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL



                                                                            By                    ==::-:-::-==-==-=:;-:-:~;;_;_;_;__;__-----
                                                                                                  DEPUTY UNITED STATES MARSHAL
                         Case 4:08-cr-00377-JLH                Document 88           Filed 01/28/10          Page 3 of 10
AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                            Judgment-Page      3     of         6
DEFENDANT:                      CARLOS LAMONT BROWN
CASE NUMBER:                    4:08CR00377-0l JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
                                                             THREE (3) YEARS

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
x        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

D        The.defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.)
         as duected by the probatIOn officer, the13ureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
    2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month;
    3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
    4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do soby the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observea in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and

 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ,I?ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 3A - Supervised Release
                                                                                            Judgment-Page _-,-4_ of         6
DEFENDANT:                CARLOS LAMONT BROWN
CASE NUMBER:              4:08CR00377-01 JLH

                                    ADDITIONAL SUPERVISED RELEASE TERMS

14) The defendant will be committed to a residential re-entry center for a period of six (6) months.
15) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program, which may include testing, outpatient counseling, and residential treatment. The defendant must abstain
from the use of alcohol throughout the course of treatment.
16) Pursuant to 12 U.S.c. §§ 1785 and 1829, the defendant may not obtain employment in an institution insured by the FDIC
or a Federal Credit Union.
17) The defendant must disclose financial information upon request of the U.S. Probation Office, including, but not limited
to, loans, lines of credit, and tax returns. This also incluoes records of any business with which the defendant is associated.
No new lines of credit will be established without prior approval of the U.S. Probation Office until all criminal penalties have
been satisfied.
18) As noted in the presentence report, the defendant is not a legal resident of the Eastern District of Arkansas. Therefore,
the period of supervIsed release is to be administered by the district where the defendant is a legal resident or the district
where a suitable release plan has been developed.
AO 245B    (Rev. 09/08)Case
                       Judgment4:08-cr-00377-JLH
                                in a Criminal Case         Document 88                Filed 01/28/10         Page 5 of 10
           Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgment - Page _-,,-5_ _   of    6
DEFENDANT:                       CARLOS LAMONT BROWN
CASE NUMBER:                     4:08CR00377-01 JLH
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                           Fine                               Restitution
TOTALS            $ 100.00                                            $ 0                                  $ 129,102.48


o The determination of restitution is deferred until                 . An Amended Judgment in a Criminal Case (AD 245C) will be entered
     after such determination.

X    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal victims must be paid
     before the United States is paId.

Name of Payee                              Total Loss*                           Restitution Ordered                   Priority or Percentage
SEE ATTACHED LIST




 TOTALS                           $ ---------                                $---------


 o    Restitution amount ordered pursuant to plea agreement $

 o    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      X the interest requirement is waived for the         0       fine   X restitution.
      o the interest requirement for the       0    fine       0     restitution is modified as follows:



 * Findings for the total amount oflosses are required under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 19%.
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American Airlines Federal Credit Union        $2501.71

Armed Forces Bank                             ~1 327.48

Arvest Bank - Bentonville AR                   ~452.85


    Arvest Bank - Roners AR                   $2810.66

    Bank of America National Association      $14749.12

    BMW Bank of North America                 ~1 783,20

Boeino Wichita Credit Union                   ~1 585,85

Canital One Bank                              $1738.19

Central Nationai Bank                         $1375.84

Chase Bank USA                                $5648.11

CitiBank South Dakota                         $13209.27

    Comeass Bank - Birminoham AL              ~4 479.75

    Comeass Bank - Desheuouette                 $14.10

    Comeass Bank - Thomason                     $80.00

    Discover Financial Services LLC           ~7 324,93
I
    Eds Credit Union                          .~2 549.71

    FIA Card Services - Wllminnton DE         $2531.19

    FIA Card Services - Phoenix AZ.            $211.90

    Fifth Third Bank                           $322.17

    First State Bank                          ~1 279.65

    HSBC Bank Nevada                            ~68.40

    Indeeendent Bank                           ~127.43

    ITS Bank - Heartland                       $800,00

    ITS Bank - Union Pacific                   $1 269.41

    JPMoroan Chase Bank NA - Debit            $14567.76

    Lansino Automakers Federal Credit Union    $250.00

    Metroeolitan Nationai Bank                 $1948.57

    Neiohborhood Credit Union                  ~1 193.44

    Omniamerican Bank                          $4686.20

    Recions Bank                              $10121.42

    Simmons First National Bank                $1773.97

    Southwest Comorate Federal Credit Union    $272,66

    Tarnel National Bank                       $114,75

    Town North Bank                           $1 084.72

    U.S. Bank National Association             ~837.12

    USAA Federal Savinos Bank                 ~1179.95

    Vieweoint Bank                            ~4895.63

    Wachovia Bank                              $1998.56

    Wells Farno Bank - Texas Bank              $4470.57

    Wells Faroo Bank - Pleasant Hill CA       $10783.23

    Woodforest National Bank                   $723.21



                                              $129102.48
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                          judgment  in a Criminal Case                     Document 88                 Filed 01/28/10                Page 7 of 10
              Sheet 6 - Schedule of Payments

                                                                                                                                  Judgment -   Page   6   of   6
DEFENDANT:                        CARLOS LAMONT BROWN
CASE NUMBER:                      4:08CR00377-01 JLH··


                                                                SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A      X Lump sum payment of $ -100.00
                                 - - - - - - due immediately, balance due


             D       not later than                                              , or
             D       in accordance              D C,         D D,          D       E, or      D Fbelow; or
B      D Payment to begin immediately (may be combined with                                DC,           D D, or         [] F below); or

C      D Payment in equal                                 (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                                (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal                                 (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                                (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E      D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      X Special instructions regarding the payment of criminal monetary penalties:
             During incarceration, defendant will pay SO percent per month of all funds that are available to him. During
             residential re-entry placement, payments will be reduced to 10 percent of defendant's gross monthly income.
             Beginning the first month of supervised release, payments will be 10 percent per month ofthe defendant's
             monthly gross income. The interest requirement is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties
is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau ofPrisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X      Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

       Restitution will be joint and several with Chantell Denise Bentley (4:08CR00377-03 JLH), and any other person
       who has been or wIll be convicted on an offense for which restitution to the same victim on the same loss IS
       ordered.

D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

X      The defendant shall forfeit the defendant's interest in the following property to the United States:
       See attached PRELIMINARY ORDER OF FORFEITURE entered on November 4, 2009

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

AO 245B        (Rev. 09/08) Judgment in a Criminal Case
               Sheet 6A - Schedule of Payments
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      Case 4:08-cr-00377-JLH         Document 77         Filed 11/04/2009       Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

v.                                   No. 4:08CR00377 JLH

CARLOS LAMONT BROWN


                        PRELIMINARY ORDER OF FORFEITURE
                                Fed.R.Crim.P.32.2(b)

       IT IS HEREBY ORDERED THAT:

       1.      As the result of the guilty plea to Count Two of the Indictment, and a stipulation of

the defendant in which he agreed to the forfeiture the Government sought pursuant to 18 U.S.c.

§ 982(a)(2)(B) and 18 U.S.c. § 1029(c)(1)(C), defendant shall forfeit to the United States:

       a.      All property used or intended to be used in any manner or part to commit the

               commission of offenses involving 18 U.S.c. § 1029(a)(4).

       2.      The Court has determined, based on the evidence already in the record that the

following property is subject to forfeiture pursuant to 18 U.S.c. § 982(a)(2)(B) and 18 U.S.c.

§ 1029(c)(1)(C), and that the government has established the requisite nexus between such property

and such offenses:

                $714.00 in United States Currency
                Gateway laptop Computer, Model MT6711, PIN IMA7A000105
                Laptop Carrying Case
                Power Cord
                ROHS Card Reader, a/k/a Skimming Device bearing #41
                Magnetic Stripe Card Reader/Writer, Model MSR505C wi Power cord

       3.      Upon the entry of this Order, the Director of Homeland Security (or a designee) is

authorized to seize the above listed property and to conduct any discovery proper in identifying,
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locating, or disposing ofthe property subject to forfeiture, in accordance with Fed.R.Crim.P. 32.2(b)(3).

        4.      Upon entry of this Order, the Director of Homeland Security (or a designee) is

authorized to commence any applicable proceeding to comply with statutes governing third party

rights, including giving notice of this Order.

        5.      The United States shall publish notice of the order and its intent to dispose of the

property in such a manner as the Director of Homeland Security (or a designee) may direct. The

United States may also, to the extent practicable, provide written notice to any person known to have

an alleged interest in the Subject Property.

        6.      Any person, other than the above named defendant, asserting a legal interest in the

Subject Property may, within thirty days of the final publication of notice or receipt of notice,

whichever is earlier, petition the Court for a hearing without a jury to adjudicate the validity of his

alleged interest in the Subject Property, and for an amendment of the order of forfeiture, pursuant

to Title 21 U.S.c. §853(n)(2).

        7.      Pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary Order of Forfeiture shall

become final as to the defendant at the time of sentencing and shall be made part of the sentence and

included in the judgment. If no third party files a timely claim, this Order shall become the Final

Order of Forfeiture, as provided by Fed.R.Crim.P. 32.2(c)(2).

        8.      Any petition filed by a third party asserting an interest in the Subject Property shall

be signed by the petitioner under penalty of perjury and shall set forth the nature and extent of the

petitioner's right, title, or interest in the Subject Property, the time and circumstances of the

petitioner's acquisition of the right, title, or interest in the Subject Property, any additional facts

supporting the petitioner's claim and the relief sought.


                                                   2
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          9.    After the disposition of any motion filed under Fed.R.Crim.P. 32.2(c)(1)(A) and

before a hearing on the petition, discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is necessary or desirable to resolve factual

issues.

          10.   The United States shall have clear title to the Subject Property following the Court's

disposition of all third-party interests, or, if none, following the expiration of the period provided in

21 U.S.c. 853(n)(2) for the filing of third party petitions.

          11.   The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed.R.Crim.P. 32.2(e).

          SO ORDERED this 4th day of November, 2009.




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